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                                       No. 23-1453


                         IN THE UNITED STATES COURT OF
                        APPEALS FOR THE FOURTH CIRCUIT


          Donna Buettner-Hartsoe; N.H., by and through her Parent and Next
                          Friend Donna Buettner-Hartsoe,
                                                           Plaintiffs–Appellees,
                                             v.
                        Baltimore Lutheran High School Association,
                             d/b/a Concordia Preparatory School,
                                                           Defendant–Appellant.


                    On Appeal from the United States District Court
                             for the District of Maryland
                                Case No.: 1:20-cv-03132
                         The Honorable Richard D. Bennett


         BRIEF OF AMICI CURIAE CIVIL RIGHTS AND SURVIVOR
        ADVOCACY ORGANIZATIONS IN SUPPORT OF AFFIRMANCE


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                        CORPORATE DISCLOSURE STATEMENT

              Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

        amici curiae state that no amicus has a parent corporation and that no

        publicly held company owns 10% or more of the stock of any amicus.




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                           INTERESTS OF AMICI CURIAE

              Amici are civil rights and gender justice organizations that work to

        promote sex equality and safety in education. Some litigate Title IX cases

        on behalf of survivors of sex-based violence; others advocate for policies

        that benefit student-victims. From their significant experience, amici

        recognize that judicial enforcement of Title IX that realizes the statute’s

        full breadth and promise is crucial to protecting all students’ rights to

        learn and thrive free of gender-based violence. Amici are:

                   Equal Rights Advocates
                   Maryland Coalition Against Sexual Assault
                   National Alliance to End Sexual Violence
                   National Council of Jewish Women
                   Public Justice
                   Rocky Mountain Victim Law Center
                   Stop Sexual Assault in Schools
                   Women’s Law Project

              The parties consent to the filing of this brief. Consistent with Fed-

        eral Rule of Appellate Procedure 29(a)(4)(E), amici’s counsel authored

        this brief, no party’s counsel authored the brief in whole or in part, and

        no party beyond amici contributed money towards the brief.




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                  STATEMENT REGARDING ORAL ARGUMENT

              Amici curiae respectfully seek leave to participate in oral argument

        because their participation may be helpful to the Court in addressing the

        important issue presented by this appeal. See Fed. R. App. P. 29(a)(8).




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                                    INTRODUCTION

              Title IX is a landmark civil rights law with a sweeping goal: “to

        eliminate discrimination on the basis of sex . . . throughout the American

        educational system.” H.R. Res. 190, 98th Cong., 1st Sess. (1983); S. Res.

        149, 98th Cong., 1st Sess. (1983). It sought to do so “by ending federal

        subsidies of such discrimination.” S. REP. NO. 100-64, at *7 (June 5, 1987),

        as reprinted in 1988 U.S.C.C.A.N. at *9. To follow through on that prom-

        ise, Congress enacted “broad” and “all-inclusive language” that reaches

        “all forms of federal aid to education, direct or indirect.” Grove City Coll.

        v. Bell, 465 U.S. 555, 564 (1984). This case asks whether that broad reach

        covers a “subsidy that is administered through the tax system,” Regan v.

        Tax’n with Representation, 461 U.S. 540, 544-45 (1983)—a “monetary

        benefit” and “form of government support” that private schools have used

        to finance discrimination since long before Title IX was passed. Bob Jones

        Univ. v. United States. 639 F.2d 147, 153 n.7 (4th Cir. 1980); see also

        Green v. Kennedy, 309 F. Supp. 1127, 1135 (D.D.C 1970).

              Title IX plainly covers such aid. Its text, structure, history, and reg-

        ulations, and decades of Supreme Court precedent, all show that

        § 501(c)(3) tax benefits are “Federal financial assistance” under Title IX.


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                                      ARGUMENT

           I.     Section 501(c)(3) Tax Benefits Are “Federal Financial As-
                  sistance” Under Title IX.

                  A. The ordinary meaning of “federal financial assistance”
                     plainly includes the grant of § 501(c)(3) tax benefits.

                Statutory interpretation starts with the text. More precisely, it

        starts with the “ordinary public meaning” of the law’s “terms at the time

        of its enactment.” Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1738, 1749

        (2020). When that meaning “is plain, [the Court’s] job is at an end.” Id.

        That is precisely the case here. Title IX is a “broadly written” law with a

        deliberately “broad reach.” Jackson v. Birmingham Bd. of Educ., 544 U.S.

        167, 175 (2005). And the Supreme Court has repeatedly directed courts

        to “accord [it] a sweep as broad as its language,” and to avoid adding “lim-

        itation[s] not apparent on [the statute’s] face.” Grove City, 465 U.S. at

        564 (quoting N. Haven Bd. of Educ. v. Bell, 456 U.S. 512, 521 (1982)).

        Likewise, when Congress amended Title IX in 1987, it urged courts to

        give it “the broadest interpretation” possible. S. REP. NO. 100-64, at *7

        (June 5, 1987), as reprinted in 1988 U.S.C.C.A.N. 3, 9; see also, e.g., H.R.

        Res. 190, 98th Cong., 1st Sess. (1983) (explaining that Congress “in-

        tended that [Title IX] be applied comprehensively and in a manner


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        designed to eliminate discrimination on the basis of sex . . . throughout

        the American educational system”).

              Title IX’s broad language plainly covers institutions that receive tax

        benefits through § 503(c)(3). Title IX applies to “any education program

        or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a).

        “Financial assistance” meant the same thing in 1972 as it does today:

        “help,” “support” or “aid” “relating to” finances. See, e.g., WEBSTER’S

        THIRD NEW INTERNATIONAL DICTIONARY OF THE ENGLISH LANGUAGE 132,

        851 (1961) (financial: “relating to finance or financiers”; assistance: “the

        help supplied or given; support” or “aid”).1 The Supreme Court has inter-

        preted those words to “encompass all forms of federal aid to education,

        direct or indirect,” Grove City, 465 U.S. at 564—not just grants of “funds.”

        See U.S. Dep’t of Transp. v. Paralyzed Veterans of America, 477 U.S. 597,

        607 fn.11 (1986) (“[F]ederal financial assistance may take nonmoney


        1 Accord AMERICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE 80,

        492 (1973) (financial: “of or pertaining to finances or those who deal with
        finances”; assistance: “the act of assisting”; assist: “to aid, help,” or “give
        aid or support”); see also WEBSTER’S SEVENTH NEW COLLEGIATE DICTION-
        ARY 53, 313 (1971) (financial: “relating to finance”; assistance: “aid” or
        “support”); BLACK’S LAW DICTIONARY 568 (5th ed., rev. 1979) (same defi-
        nition of financial). In choosing “financial,” Congress chose the “broadest
        . . . application” among synonyms like “pecuniary” or “monetary.” A MER-
        ICAN HERITAGE DICTIONARY OF THE ENGLISH LANGUAGE 492 (1973).
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        form” and may include any “thing of value.”); accord Financial Assis-

        tance, BLACK’S LAW DICTIONARY (11th ed. 2019) (“Any economic benefit .

        . . given by one person or entity to another.”). In short, under both the

        ordinary meaning and the case law, an entity receives “Federal financial

        assistance” if it receives any “direct or indirect financial benefit from a

        government source” that “Congress intends to benefit” the entity. David

        A. Brennen, Tax Expenditures, Social Justice, and Civil Rights: Expand-

        ing the Scope of Civil Rights Laws to Apply to Tax-Exempt Charities, 2001

        B.Y.U. L. Rev. 167, 223 (2001).

              Section 501(c)(3) tax benefits plainly meet that definition. They ob-

        viously help institutions with their finances: the charitable exemption

        saves organizations money on their taxes, and the charitable contribution

        deduction helps them obtain financing. See 26 U.S.C. § 170(a); infra pp.

        10-11. Tax-exempt status also allows schools to issue tax-exempt bonds

        “to borrow money on terms more favorable than for-profit counterparts,

        a benefit that private schools have used extensively.” John D. Colombo,

        Why Is Harvard Tax-Exempt? (and Other Mysteries of Tax Exemption For

        Private Educational Institutions), 35 Ariz. L. Rev. 841, 870 (1993) (citing

        26 U.S.C. § 145). All just as Congress intended. Infra § I.B.


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              Thus, “[t]he grant of [§ 503(c)(3)] tax exempt status to any institu-

        tion necessarily confers upon it a kind of monetary benefit and consti-

        tutes a form of government support,” as this Court held four decades ago

        in Bob Jones University v. United States. 639 F.2d 147, 153 n.7 (4th Cir.

        1980); see also Stanley S. Surrey, Federal Income Tax Reform: The Varied

        Approaches Necessary to Replace Tax Expenditures with Direct Govern-

        mental Assistance, 84 Harv. L. Rev. 352, 384 (1970) (charitable deduction

        is “a method of providing federal financial assistance” to charities); Bren-

        nen, Tax Expenditures, 2001 B.Y.U. L. Rev. at 212 (“[T]here is no logical

        (or legal) reason for treating the tax benefits received by charities as an-

        ything other than equivalent to government grants or loans for purposes

        of interpreting relevant civil rights statutes.”).2 Indeed, just months be-

        fore Congress passed Title IX, a three-judge court held that a § 501(c)

        exemption and the charitable deduction were both “federal financial




        2 Indeed, at least one federal Spending Clause statute—the Affordable

        Care Act § 1557, which cross-references Title IX—expressly states that
        “Federal financial assistance” includes tax credits. 42 U.S.C. § 18116(a).

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        assistance” under Title VI, the model for Title IX. McGlotten v. Connally,

        338 F. Supp. 448, 461 (D.D.C. 1972).3 Just as the plain meaning required.

                B. Decades of Supreme Court and lower court precedent
                   confirm that § 501(c)(3) tax benefits are federal aid.

              This principle—that § 501(c)(3) tax benefits are forms of federal

        aid—is the cornerstone of decades of Supreme Court doctrine. See Regan,

        461 U.S. at 545 (“[B]oth tax exemptions and tax-deductibility [for chari-

        ties] are a form of subsidy that is administered through the tax system.”);

        Bob Jones Univ. v. United States, 461 U.S. 574, 587-88, 591 & n.10 (1983)

        (“[I]n enacting both § 170 and § 501(c)(3), Congress sought to provide tax

        benefits to charitable organizations[ ] to encourage [their] development,”

        which made “other taxpayers . . . indirect and vicarious ‘donors.’”); Trin-

        idad v. Sagrada Orden de Predicadores, 263 U.S. 578, 581 (1924) (holding

        that 501(c)(3) is “intended to aid” organizations that serve the public in-

        terest); Green v. Connally, 330 F. Supp. 1150, 1164 (D.D.C. 1971), aff’d,

        Coit v. Green, 404 U.S. 997 (1971); see also Paralyzed Veterans of Am. v.

        C.A.B., 752 F.2d 694, 709 (D.C. Cir. 1985), rev’d on other grounds, 477




        3 See Cannon v. Univ. of Chicago, 441 U.S. 677, 694-95 & nn.16-19 (1979)

        (Title IX was “patterned” on Title VI with “identical language” and Con-
        gress “explicitly assumed” courts would interpret them the same way).
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        U.S. 597 (1986) (“Both in Regan and Bob Jones . . . the Supreme Court

        affirmed McGlotten’s fundamental approach.”). This long line of prece-

        dent confirms that § 501(c)(3) tax benefits are just the kind of “subsidy”

        Congress meant to withhold from schools that discriminate. S. R EP. NO.

        100-64, at *7 (June 5, 1987), as reprinted in 1988 U.S.C.C.A.N. at *9.

              The nature of § 501(c)(3) tax benefits as subsidies intended to aid

        their recipients sets them apart from other tax exemptions and deduc-

        tions, as this Court explained in Bob Jones. 639 F.2d at 151-52. The fed-

        eral tax system includes “two parts:” one “comprises the structural pro-

        visions necessary to implement the income tax”; the other “comprises a

        system of tax expenditures under which . . . financial assistance programs

        are carried out through special tax provisions rather than through direct

        Government expenditures.” Stanley S. Surrey, Pathways to Tax Reform:

        The Concept of Tax Expenditures 6-7 (1973). In other words, some exemp-

        tions and deductions are “computational provision[s]” designed to make

        sure the IRS taxes only “net income” (i.e., “earnings and profits less ex-

        penses and losses”) and not “gross” revenue. Bob Jones, 639 F.2d at 151-

        52 (citation omitted); McGlotten, 338 F. Supp. at 457 (“Certain deduc-

        tions” are not “matching grants,” but “merely attempts to provide for an


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        equitable measure of net income” or to structure taxes based on “ability

        to pay”).4 These provisions may not constitute “financial assistance.” See

        McGlotten, 338 F. Supp. at 457. Sections 503(c)(3) and 170, in contrast,

        are “tax benefits” that provide “preferential treatment” and subsidize or-

        ganizations if they serve the public interest. Bob Jones, 461 U.S. at 589

        (emphasis added). Unlike other provisions, they are “intended to aid” se-

        lect organizations, even if they earn a profit that Congress generally

        meant to tax. Trinidad, 263 U.S. at 581; see also S. REP. NO. 91-552

        (1969), as reprinted in 1969 U.S.C.C.A.N. at 2027, 2073 (“The grant of

        current tax benefits to donors and exempt organizations usually is justi-

        fied on the basis that charity will benefit from the gifts.”).

              Like McGlotten, both Green and Bob Jones relied on this distinction

        to hold that the IRS could deny charitable tax benefits to discriminatory

        institutions. Both cases concerned the use of tax-exempt status to finance

        discriminatory schools. In the 1950s and 60s, the whites-only private

        schools that spread to evade desegregation used § 501(c)(3)’s perks to

        fund their growth. “[O]fficials of the private segregated schools


        4 The deduction for ordinary expenses necessary to run a business, for

        example, simply ensures that the Code taxes businesses on “net income”
        and not “gross receipts.” See Comm’r. v. Sullivan, 356 U.S. 27, 29 (1958).
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        considered it important to obtain the support involved in the obtaining of

        certification of tax exemption” because it was (in their words) “a ‘signifi-

        cant factor’ that would ‘aid the school in obtaining finances.’” Kennedy,

        309 F. Supp. at 1135. Based in part on that testimony, just two years

        before Title IX was enacted, a three-judge district court held that grant-

        ing tax-exempt status to discriminatory schools violated the Equal Pro-

        tection Clause, id. at 1134, 1136, and breached the Internal Revenue

        Code because it frustrated the federal “policy against Federal support for

        private schools that practice racial discrimination” embodied in Title VI.

        Connally, 330 F. Supp. at 1164. Granting tax benefits to discriminatory

        schools violated this policy, the Court held, because the tax exemption

        was a form of federal “support” and the deduction effectively a “matching

        grant.” Id. at 1165. The Supreme Court affirmed. Coit, 404 U.S. at 997.

        One year later, McGlotten used the same rationale—that tax benefits are

        federal aid—to hold that tax benefits were “financial assistance” under

        Title VI. 338 F. Supp. at 461.

              This Court used the same reasoning to hold that the grant of §

        501(c)(3) status was a “monetary benefit” and “form of government sup-

        port,” such that the IRS could lawfully withdraw it from discriminatory


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        schools. Bob Jones, 639 F.2d at 152 n.7. In response to the nationwide

        injunctions in Green and McGlotten, the IRS denied § 501(c)(3) status to

        schools that discriminated based on race, reasoning (as Green did) that

        such schools were not “charitable” because race discrimination violated

        public policy. Id. at 150. This Court agreed. To grant such schools tax-

        exempt status, it held, would violate “the government policy against sub-

        sidizing racial discrimination in education, public or private.” Id. at 151

        (emphasis added). Empowering the IRS to revoke tax exempt status thus

        “assure[d] that Americans [did not] provid[e] indirect support for any ed-

        ucational organization that discriminates” based on race. Id. at 152 &

        n.7.

               The Supreme Court affirmed. It too agreed that § 501(c)(3) status

        is a subsidy, so granting it to discriminatory schools violates the “govern-

        mental interest . . . in denying public support to racial discrimination in

        education.” Bob Jones, 461 U.S. at 604 n.29. Reviewing centuries of leg-

        islative history, from the Statute of Charitable Uses of 1601 through the

        first federal income tax law in 1898, the Court agreed that tax-exempt

        status is not just a means of measuring taxable income; rather, Congress

        meant it to provide an economic benefit to organizations that served the


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        public interest. Id. at 587-88 & n.10. It added that other taxpayers pay

        for that benefit when they make up the difference necessary to pay for

        government services. See id. at 591 (“When the Government grants ex-

        emptions or allows deductions[,] all taxpayers are affected” because “the

        very fact of the exemption or deduction for the donor means that other

        taxpayers can be said to be indirect and vicarious ‘donors.’”). Thus, the

        Court reasoned, “grant[ing] the benefit of tax-exempt status to racially

        discriminatory educational entities” would turn § 501(c)(3) against its

        own design: instead of subsidizing institutions that serve the common

        good, it would subsidize schools that discriminate “by having all taxpay-

        ers share in their support by way of special tax status.” Id. at 595.

              The Court later relied on the same point to uphold a provision that

        denied tax-exempt status to organizations engaged in lobbying, reiterat-

        ing that “both tax exemptions and tax-deductibility are a form of subsidy

        that is administered through the tax system.” Regan, 461 U.S. at 544-45.

        As in Bob Jones, this was the lynchpin of Regan’s holding: the Court held

        that although government ordinarily could not place content-based bur-

        dens on political speech, the First Amendment did not require it to “sub-

        sidize” that speech through the § 501(c)(3) exemption. Id.


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              The Court’s Establishment Clause cases also rest on the under-

        standing that tax breaks are “financial assistance” when intended “sub-

        sidize” religion. Comm. for Pub. Educ. & Religious Liberty v. Nyquist, 413

        U.S. 756, 759, 761, 790-93 (1973) (holding that a tax deduction for the

        payment of parochial school tuition violated the Establishment Clause

        because there was “little difference, for purposes of determining whether

        such aid has the effect of advancing religion,” between the tax deduction

        and a “tuition grant”); see also Texas Monthly, Inc. v. Bullock, 489 U.S. 1,

        14 (1989) (plurality) (holding that sales tax exemption for religious pub-

        lications violated the Establishment Clause because it “provide[d] unjus-

        tifiable awards of assistance to religious organizations”); id. at 42 (Scalia,

        J., dissenting) (“Quite obviously, a sales tax exemption aids religion,

        since it makes it less costly for religions to disseminate their beliefs.”);

        accord Rosenberger v. Rector & Visitors of Univ. of Virginia, 515 U.S. 819,

        859 & fn.5 (1995) (Thomas, J., concurring) (“A tax exemption in many

        cases is economically and functionally indistinguishable from a direct

        monetary subsidy.”).

              Contrary to Baltimore Lutheran and its amici’s contentions, Walz

        v. Tax Commission of City of New York supports the same point. 397 U.S.


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        664, 699 (1970). In upholding a property tax exemption for churches, the

        Court acknowledged that the exemption was a form of “aid,” Nyquist, 413

        U.S. at 792-93 (quoting Walz, 397 U.S. at 676), but held that it did not

        violate the Establishment Clause because “the level of government sup-

        port conferred by the [tax] exemption was within permissible limits” and

        avoided excessive government entanglement with religion. Bob Jones,

        639 F.2d at 152 n.7 (distinguishing Walz, 397 U.S. at 674) (emphasis

        added). Nevertheless, “[a]ll the opinions in Walz analyzed [the] tax ex-

        emption[ ] as providing an economic benefit[]—‘that exemptions do not

        differ from subsidies as an economic matter.’” Green, 330 F. Supp. at 1168

        (quoting Walz, 397 U.S. at 699 (Harlan, J., concurring)). And all the jus-

        tices agreed on the point relevant here: that “[t]ax exemptions and gen-

        eral subsidies . . . both provide economic assistance.” Walz, 397 U.S. at

        690 (Brennan, J. concurring).

                C. Tax-exempt schools “receive” federal financial assis-
                   tance.

              Baltimore Lutheran is thus subject to Title IX because it “receiv[es]

        Federal financial assistance” through § 501(c)(3) tax benefits. 20 U.S.C.

        § 1681(a). It is, of course, natural to say that an institution “receives” a

        tax exemption. Allen v. Wright, 468 U.S. 737, 744 (1984) (private schools

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        “receive tax exemptions” through § 503(c)(3) (emphasis added)); Bob

        Jones, 461 U.S. at 609, 612 (Powell, J., concurring) (“nonprofit groups

        receive tax exemptions” and “receive tax-exempt status under § 501(c)(3)”

        (emphasis added)); Walz, 397 U.S. at 689 (Brennan, J. concurring)

        (same). Contrary to the other side’s contentions, Title IX’s roots in the

        Spending Clause do not suggest otherwise.

              Congress limited the scope of Title IX and other Spending Clause

        statutes “to those who actually ‘receive’ federal financial assistance be-

        cause it sought to impose [the laws’] coverage as a form of contractual

        cost”—or “quid pro quo”—for “the recipient’s agreement to accept the fed-

        eral funds” or “whatever thing of value is extended by the grant statute.”

        Paralyzed Veterans, 477 U.S. at 605, 607 n.11 (cleaned up). In doing so,

        it extended Title IX’s coverage to “those who are in a position to accept or

        reject” its obligations while excluding bystanders that “merely benefit”

        from the “economic ripple effects” of aid granted to the intended recipient.

        Id. at 606, 607. This distinction reflects that “legislation enacted pursu-

        ant to the spending power is much in the nature of a contract,” and “the

        legitimacy of Congress’ power to legislate under [that] power thus rests

        on whether the [recipient] voluntarily and knowingly accepts the terms


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        of the ‘contract.’” Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S.

        1, 17 (1981).

              An institution’s decision to accept tax benefits is no less “contrac-

        tual” than an agreement to accept a grant of federal funds. Indeed, in the

        very case Pennhurst cited to hold that Spending Clause legislation is “in

        the nature of a contract,” the “contract” was the state’s decision to accept

        a tax break in exchange for compliance with federal conditions.

        Pennhurst, 451 U.S. at 17 (citing Steward Mach. Co. v. Davis, 301 U.S.

        548, 585-98 (1937)). In Steward, the Court held that a provision of the

        Social Security Act which offered tax credits on the condition that a state

        establish an unemployment insurance program was not unduly “coer-

        cive” because the state voluntarily chose to accept the tax break, and if it

        no longer wished to comply with the conditions, it could end the program,

        “terminate the credit,” and “place itself where it was before the credit was

        accepted.” Id. at 592-93. Thus, the conditional tax break, like conditional

        funding, was a valid exercise of the “spending power.” Pennhurst, 451

        U.S. at 17 (citing Steward, 301 U.S. at 585-98).5



        5 That said, there is no reason the analysis would change if a tax subsidy

        did not arise from Congress’s spending power. Congress may act under

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              As the Bob Jones litigation makes clear, this is especially true of

        tax benefits granted under § 501(c)(3). Just like a grant of funds, “chari-

        table exemptions from income taxation constitute a quid pro quo: the

        public is willing to relieve an organization from paying income taxes be-

        cause the organization is providing a benefit to the public,” Geisinger

        Health Plan v. Comm’r, 985 F.2d 1210, 1215 (3d Cir. 1993), and accepts

        an obligation to serve public policy—and not to discriminate—in ex-

        change for the exemption. See Bob Jones, 461 U.S. at 595. Unlike in Par-

        alyzed Veterans or NCAA v. Smith—where the alleged recipients could

        not refuse the aid because they “merely benefit[ed]” from “economic rip-

        ple effects” of funds earmarked for other entities, Paralyzed Veterans, 477

        U.S. at 607 (quoting Grove City, 465 at 572); NCAA v. Smith, 525 U.S.

        459, 466 (1999)—organizations may forgo applying for those tax benefits

        or forfeit them later if they refuse to comply with the conditions.6



        multiple sources of authority, and it may exercise the taxing power with-
        out expressly invoking that power. See, e.g., Nat’l Fed’n of Indep. Bus. v.
        Sebelius, 567 U.S. 519, 564-65 (2012).
        6 Amicus Napa wrongly suggests that NCAA v. Smith indicates that tax

        benefits are not financial assistance because the NCAA is tax-exempt.
        The Court did not consider this question in NCAA v. Smith or any of the
        other cases Napa cites. The Supreme Court has long warned that its

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              Appellant and its amici also suggest that Pennhurst demands re-

        versal because Title IX does not give clear enough notice to recipients

        that tax benefits are “Federal financial assistance.” But as explained

        above, charitable tax benefits are unambiguously federal financial assis-

        tance. And the Court has never required Congress to specify each appli-

        cation that falls within Title IX’s broad terms. Just the opposite: in Jack-

        son, the Court held Title IX covers retaliation even though the statute

        only refers to “discrimination,” 544 U.S. at 183; and in Davis, it held that

        Title IX covers student-on-student harassment even though it was not

        mentioned in the statute, its legislative history, or regulations. Davis ex

        rel. LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 643 (1999);

        id. at 669-70 (Kennedy, J., dissenting). In those cases, schools were “put

        on notice by the fact that [the Court’s] cases . . . have consistently inter-

        preted Title IX’s private cause of action broadly to encompass diverse

        forms of intentional sex discrimination.” Jackson, 544 U.S. at 183. The

        same is true here: precedent gave schools ample notice that “federal



        precedents should not be read to have decided matters that merely
        “lurk[ed] in the record” and were not “brought to the attention of the court
        nor ruled upon.” Cooper Indus., Inc. v. Aviall Servs., Inc., 543 U.S. 157,
        170 (2004) (quoting Webster v. Fall, 266 U.S. 507, 511 (1925)).

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        [financial] assistance” sweeps broadly to “encompass all forms of federal

        aid to education,” Grove City, 465 U.S. at 564 (citation omitted), and that

        tax benefits are forms of federal aid. Supra § I.B.

                D. Title IX’s structure and regulations show that
                   § 501(c)(3) benefits are “Federal financial assistance.”

              Title IX’s structure also reinforces that § 501(c)(3) tax benefits are

        “Federal financial assistance.” “Title IX is a broadly written general pro-

        hibition on discrimination, followed by specific, narrow exceptions to that

        broad prohibition.” Jackson, 544 U.S. at 175. Based on that structure,

        courts have repeatedly rejected efforts to place implied limitations Title

        IX’s scope. See id.; see also Peltier v. Charter Day Sch., Inc., 37 F.4th 104,

        128-29 (4th Cir. 2022) (“[W]e view Congress’ decision to include specific

        exceptions in Title IX as a deliberate choice to ‘limit[ ] the statute to the

        [exceptions] set forth’” therein. (citation omitted)); Jeldness v. Pearce, 30

        F.3d 1220, 1225 (9th Cir. 1994) (Because Title IX lists specific exemptions

        to its broad prohibition, others “are not to be judicially implied.”).

              Appellant’s amici try the same tactic that failed in these prior cases:

        they ask the Court to infer an implied exception to the plain sweep of

        “Federal financial assistance” based on their strained interpretation of

        Title IX’s ancillary provisions and regulations. See, e.g., Amicus Br. of

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        Napa Inst. Legal Found. at 9-13 (“Napa Br.”). But Congress “does not

        alter the fundamental details of a regulatory scheme in . . . ancillary pro-

        visions.” Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001). And

        there is no reason to believe it did so in Title IX.

              Indeed, all of the ancillary provisions amici cite are consistent with

        treating tax-exempt status as federal financial assistance. They first

        point to 20 U.S.C. § 1682, which vests authority to enforce Title IX in

        agencies that are “empowered to extend Federal financial assistance to

        any education program or activity, by way of grant, loan, or contract.”

        Napa Br. at 10. But nothing in § 1682 suggests that the word “grant”

        refers only to cash grants, or that it excludes the grant of tax exemptions

        and deductions by the IRS. See Bob Jones, 461 U.S. at 577-78 (noting the

        IRS “granted tax-exempt status to private schools . . . under § 501(c)(3) .

        . . and granted charitable deductions for contributions to such schools un-

        der § 170.” (emphasis added)); id. at 587 n.10 (characterizing charitable

        exemption and deduction as a “grant of tax benefits”); see also Allen, 468

        U.S. at 756 (referring to the “grant of a tax exemption”); Walz, 397 U.S.

        at 675 (same).




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              Napa next points to 20 U.S.C. § 1686, which makes clear that Title

        IX does not “prohibit any educational institution receiving funds under

        this Act [the Education Amendments of 1972] from maintaining separate

        [sex] living facilities.” Napa Br. at 9-10. Since this exemption only refers

        to institutions “receiving funds,” Napa suggests “federal financial assis-

        tance” must only cover “funds.” Id. But the Supreme Court long ago re-

        jected this conclusion. See Paralyzed Veterans, 477 U.S. at 607 n.11

        (“[F]ederal financial assistance may take nonmoney form.”). And so do

        the regulations. See, e.g., 31 C.F.R. § 28.105 (providing that federal “fi-

        nancial assistance” includes “the services of Federal personnel” and dis-

        counts on sales or rentals of federal property).7



        7 Napa suggests that if Title IX covers schools that receive non-monetary
        assistance, then § 1686 must create “bizarre dichotomy” because it only
        exempts single-sex living facilities in schools that receive federal “funds”
        and not in schools receiving nonmonetary aid. Napa Br. at 10. But there
        is no such disparity: § 1686 simply expresses one example of the general
        principle that Title IX does not prohibit the maintenance of sex-separate
        facilities per se, no matter what form of aid the school receives. See, e.g.,
        34 C.F.R. §§ 106.33, 106.41 (providing that Title IX allows schools to have
        sex-separate athletic teams and bathrooms); Nondiscrimination on the
        Basis of Sex in Education Programs or Activities Receiving Federal Fi-
        nancial Assistance, 87 Fed. Reg. 41390, 41534 (proposed July 12, 2022)
        (“2022 NPRM”) (“[T]hose regulatory provisions [reflect] that in certain
        situations, the fact that a recipient employs a sex-based distinction or
        separation does not, as such, amount to ‘discrimination’ that Title IX

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              The other provisions Napa cites in fact support Plaintiffs’ case, not

        Baltimore Lutheran’s. Section 1681(a)(6)—which permits single-sex so-

        cial organizations (like sororities or the Girl Scouts) to remain single-sex

        when they operate for charitable purposes under § 503(c)(3)—confirms

        that Congress had Title IX’s application to § 501(c)(3) organizations in

        mind but chose not to exempt their tax benefits from the definition of

        “Federal financial assistance.” And § 1681(b)—which appears to use the

        phrase “federally supported program or activity” as short-hand for “pro-

        gram or activity receiving Federal financial assistance”—bolsters the

        conclusion that tax benefits are financial assistance. See Bob Jones, 639

        F.2d at 152 n.7 (“The grant of [§ 503(c)(3)] tax exempt status to any in-

        stitution . . . constitutes a form of government support.”); accord Bob

        Jones, 461 U.S. at 595, 604 n.29.

              Title IX’s regulations are also entirely consistent with the conclu-

        sion that tax benefits are financial assistance. Contrary to Baltimore




        forbids in the first place” because it “imposes no harm or only de minimus
        harm” on students); Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586,
        618 & n.16 (4th Cir. 2020) (explaining that § 1686 expresses that “sex-
        separated living facilities are not unlawful” unless schools “act in an ar-
        bitrary or discriminatory manner when dividing students into those sex-
        separated facilities”).
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        Lutheran’s contention, those regulations are not exhaustive: they make

        clear that any “grant of federal financial assistance” by the Department

        of the Treasury (including the IRS) subjects an entity to Title IX. 31

        C.F.R. § 28.105(1); see Bob Jones, 461 U.S. at 577-78 (the IRS “grant[s]”

        tax-exempt status); accord Allen, 468 U.S. at 756; Walz, 397 U.S. at 675.

        The rule also specifically covers “[a]ny . . . arrangement that has as one

        of its purposes the provision of assistance to any education program or

        activity,” with only one specified (and inapplicable) exception. 31 C.F.R.

        § 28.105(5). That the regulations do not specifically identify tax benefits

        is no more significant than the fact that the statute does not do so. Most

        federal agencies that enforce Title IX (such the Department of Education)

        do not grant tax exemptions and cannot enforce their conditions—so they

        would have no reason to identify them in a regulation. See 20 U.S.C. §

        1682; 34 C.F.R. § 106.2(g) (“Federal financial assistance means any of the

        following, when authorized or extended under a law administered by the

        Department.” (emphasis added)). And given that the IRS has long been

        able to revoke § 501(c)(3) status from discriminatory schools under §

        501(c)(3) itself, see Bob Jones, 461 U.S. at 589, Treasury has had little

        incentive to clarify that it may also do so under other statues like Title


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        IX. Finally, even if Appellant were right about the regulations, an agency

        cannot create an exception to Title IX’s plain text. See Peltier, 37 F.4th at

        129 (holding that regulation was not entitled to deference even if it sup-

        ported recipient’s position because Title IX was unambiguous).8

                E. Title IX’s legislative history reinforces that § 501(c)(3)
                   benefits are “Federal financial assistance.”

              With no real support in Title IX’s text or structure, the other side

        turns to the legislative history, noting that legislators discussed “funds”

        but not tax exemptions in the debates before Title IX’s passage. Napa Br.

        at 16-17. But even if Congress did not specifically have tax benefits in

        mind when it passed Title IX, that would not justify creating an implied




        8 The other side points to DOJ’s statement that “typical tax benefits . . .

        are not considered federal financial assistance,” but it is not clear
        whether the DOJ views § 501(c)(3) perks as “typical”: in the same section,
        DOJ also notes that “courts have found instances where a tax benefit
        would be considered federal financial assistance,” citing McGlotten and
        another case that held 501(c)(3) tax exemptions were federal financial
        assistance. U.S. Dep’t of Just., Title VI Legal Manual at 8,
        https://www.justice.gov/media/1121301/dl?inline (citing Fulani v. League
        of Women Voters Educ. Fund, 684 F. Supp. 1185, 1192 (S.D.N.Y. 1988),
        aff’d, 882 F.2d 621 (2d Cir. 1989)) (emphasis added). And even if the DOJ
        disagreed with Appellees, its interpretation of another agency’s (Treas-
        ury’s) regulations is not entitled to deference. See Kisor v. Wilkie, 139 S.
        Ct. 2400, 2412 (2019) (explaining that courts defer to agency’s interpre-
        tation of its “own [ambiguous] regulations [as part] of the agency’s dele-
        gated lawmaking powers” (emphasis added)).
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        exemption to the statute’s plain text. As the Court recently reiterated,

        that a statute’s plain language covers “situations not expressly antici-

        pated by Congress does not demonstrate ambiguity”; “it simply demon-

        strates the breadth of a legislative command. And it is ultimately the

        provisions of those legislative commands rather than the principal con-

        cerns of our legislators by which we are governed.” Bostock, 140 S. Ct. at

        1749 (cleaned up).

              Here, however, Title IX’s legislative history confirms that it applies

        to tax benefits. In the sessions leading to Title IX’s passage, the statute’s

        chief architects made clear that they intended to give the statute an ex-

        pansive reach. Representative Edith Green, who chaired the hearings

        that led to Title IX, stated outright that “[t]he purpose of Title [IX] is to

        end discrimination in all institutions of higher education . . . across the

        board.” 117 Cong. Rec. 39256 (1971) (emphasis added). And Senator

        Birch Bayh—whose statements are “an authoritative guide to the stat-

        ute’s construction” as “the sponsor of the language ultimately enacted,”

        N. Haven, 456 U.S. at 526-27—remarked that he “doubt[ed] very much

        whether even one institution of higher education today, private or public,

        is not receiving some Federal assistance.” 117 Cong. Rec. 30408 (1971).


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              While legislators did not discuss tax exemptions specifically in

        1972, they acknowledged that federal aid that frees institutional funds

        for other uses—as tax exemptions do—constitutes financial assistance.

        As Senator Bayh remarked during the post-enactment hearings on the

        proposed Title IX regulations: “[i]f Federal aid benefits a discriminatory

        program by freeing funds for that program, the aid assists it, and I think

        that is rather clear.” Review of Regs. to Implement Title IX: Hearings

        before the Subcomm. on Postsecondary Educ. of the Comm. on Educ. &

        Lab. of the House of Representatives, 94th Cong., 175 (1976). To support

        that point, Bayh submitted a law review article arguing that McGlotten

        and Green suggest that Title IX prohibits discrimination “in programs

        benefiting indirectly—by favorable tax treatment—from federal financial

        assistance.” 121 Cong. Rec. S16059-60 (daily ed. May 22, 1975) (quoting

        James C. Todd, Title IX of the 1972 Education Amendments: Preventing

        Sex Discrimination in Public Schools, 53 Tex. L. Rev. 103, 111 (1974)).

              By 1987, when Congress amended Title IX to confirm its breadth,

        it knew that the Supreme Court had affirmed four times that § 501(c)(3)

        tax benefits were forms of “aid,” or “subsid[ies],” see Regan, 461 U.S. at

        544-45; Bob Jones, 461 U.S. at 589; Coit, 404 U.S. at 997, aff’ing, Green,


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        330 F. Supp. at 1164; Trinidad, 263 U.S. at 581—and that a similar tax

        break constituted “financial assistance,” Nyquist, 413 U.S. at 759. And it

        knew that a three-judge court had enjoined the grant of charitable deduc-

        tions and a § 501(c) tax exemption because they were both “financial as-

        sistance” under Title VI. McGlotten, 338 F. Supp. at 461.

              The Supreme “Court generally assumes that, when Congress enacts

        statutes, it is aware of th[e] Court’s relevant precedents.” Ysleta Del Sur

        Pueblo v. Texas, 142 S. Ct. 1929, 1940 (2022). Here, though, no assump-

        tion is needed. See Bob Jones, 461 U.S. at 601-02 & n.26 (noting that

        Congress amended the tax code in response to McGlotten and left its “fi-

        nancial assistance” holding intact). Legislators explicitly referenced

        those decisions in the hearings leading to the amendment. See, e.g., Hear-

        ings Before the S. Comm. on Lab. & Hum. Res. on the Supreme Court’s

        Decision in Grove City v. Bell, 99th Cong. 189 (1985) (statement of Chair-

        man Orrin Hatch) (“[T]he famous 1972 case of McGlotten v. Connolly held

        that the provision of a tax deduction for charitable contributions consti-

        tutes a grant of Federal financial assistance within the scope of the 1964

        Civil Rights Act.”); Hearings before the Subcomm. on the Const. of the S.

        Comm. on the Judiciary on a Bill to Clarify Title IX of the Educ. Amends.


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        of 1972, Section 504 of the Rehabilitation Act of 1973, the Age Discrimi-

        nation Act of 1975, and Title VI of the Civil Rights Act of 1974, 98th Cong.

        156 (1984) (testimony of Professor Charles Fried) (noting that the view

        that Bob Jones and Grove City together suggested “that tax benefits and

        tax exemptions . . . constitute . . . an indirect form of Federal aid” had

        been “forcefully argued” by Professor Laurence Tribe). And throughout

        the debates, religious and other organizations unsuccessfully urged Con-

        gress to reject the 1987 amendment because they believed that Supreme

        Court caselaw indicated that § 501(c)(3) tax benefits were “federal finan-

        cial assistance” under Title IX as written. See, e.g., 134 Cong. Rec. 4771

        (1988).

              Still, knowing that courts had repeatedly found tax benefits were

        forms of federal aid, Congress not only continued to use the same broad

        term to define Title IX’s coverage, but also directed courts to give it the

        “broadest interpretation” possible. S. REP. NO. 100-64, at 7; H.R. RES. NO.

        190, 98th Cong. (1983) (same). The only conclusion consistent with this

        history, Title IX’s text, and Supreme Court precedent is that § 501(c)(3)

        tax benefits are “federal financial assistance” under Title IX.




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           II.     Appellant and Its Amici Exaggerate Title IX’s Burden on
                   Schools and Ignore Sexual Violence’s Costs to Students.

                 Out of legal arguments, Baltimore Lutheran and its amici try to

        stoke fear that the costs of compliance with Title IX would be “crippling.”

        But thousands of small schools that receive federal funds already comply

        with Title IX without facing substantial burdens. See 2022 NPRM, 87

        Fed. Reg. at 41564-65 (finding that the Department of Education’s pro-

        posed Title IX regulations would not place substantial burdens on small

        schools). And as explained above, tax-exempt schools that refuse federal

        money must already practice nondiscrimination to keep their tax bene-

        fits. Title IX imposes only two additional obligations. First, schools must

        comply with Treasury’s Title IX regulations. Those rules impose simple

        and manageable requirements: publish a nondiscrimination policy, have

        a “prompt and equitable” process to address complaints, and designate

        an employee to coordinate these functions. 31 C.F.R. §§ 28.135, 28.140.

        Second, a school may be liable if it intentionally discriminates against a

        student or remains deliberately indifferent to sexual harassment and

        causes compensable injuries. See Davis, 526 U.S. at 643. But neither Ap-

        pellant nor any of its amici point to evidence that either of those things

        impose unmanageable—or unintended—costs on private schools.

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              Worse, Appellant’s amici’s one-sided economics ignores the costs

        schools impose on students when schools permit discrimination. Students

        who experience unremedied sexual violence don’t just suffer lasting psy-

        chological harm, they must also bear substantial—often crippling—fi-

        nancial costs. See Dana Bolger, Gender Violence Costs: Schools’ Financial

        Obligations Under Title IX, 125 Yale L.J. 2106, 2118 (2016) (“Violence—

        and institutional indifference in its wake—changes the courses of survi-

        vors’ lives, with educational and employment consequences following

        them far into the future.”). “Recent estimates put the lifetime cost of rape

        at $122,461 per victim.” Ctrs. for Disease Control & Prevention, Nat’l Ctr.

        for Injury Prevention & Control, Preventing Sexual Violence (2022),

        https://www.cdc.gov/violenceprevention/pdf/sv/SV-factsheet_2022.pdf.

        Survivors who suffer sexual violence in school “report costs ranging from

        mental health services to medical treatment, lost tuition to lost income,

        transportation costs to housing expenses.” Bolger, Gender Violence Costs,

        supra, at 2116. Denying students Title IX’s protection would leave stu-

        dents to bear those costs without recourse, even when their school im-

        poses them through deliberate indifference to harassment, and even

        while the school receives valuable benefits from the federal government.


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              Title IX demands more.

                                     CONCLUSION

              This Court should affirm the district court’s decision.



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                          CERTIFICATE OF COMPLIANCE

              In accordance with Federal Rule of Appellate Procedure 32(g)(1)

        and Circuit Rule 32, I certify that this brief:

              (i) complies with the type-volume limitation of Federal Rule of Ap-

        pellate Procedure 29(a)(5) because it contains 6,489 words, including foot-

        notes and excluding the parts of the brief exempted by Rule 32(f)); and

              (ii) complies with the typeface requirements of Rule 32(a)(5) and

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        using Microsoft Word for Office 365, Version 2305, set in Century School-

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                                                  /s/ Sean Ouellette
                                                  Sean Ouellette




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                             CERTIFICATE OF SERVICE

              I certify that on August 11, 2023, this brief was filed using the

        Court’s CM/ECF system. All participants in the case are registered

        CM/ECF users and will be served electronically via that system.



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